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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- X
JOHN BAL, in the capacity as a Democratic Candidate
for the New York State Assembly,
                                                                          16 Civ. 2416 (PKC)
                                            Plaintiff,

                             –against–

MANHATTAN DEMOCRATIC PARTY, et al.,

                                            Defendants.
--------------------------------------------------------------------- X

                           DEFENDANTS’ MEMORANDUM OF LAW
                          IN OPPOSITION TO PLAINTIFF’S MOTION
                              FOR SUMMARY JUDGMENT AND
                             IN SUPPORT OF THE DEFENDANTS’
                         CROSS-MOTION FOR SUMMARY JUDGMENT

                                             INTRODUCTION

        Plaintiff has moved for summary judgment in this case, and Defendants have cross-

moved for Summary Judgment. This case involves a passionate, but misplaced, intra-Democratic

Party dispute about the manner in which the Manhattan Democratic Party treated Plaintiff when

he declared himself a candidate for a vacancy arising as a result of the conviction of former NY

State Assembly Leader Sheldon Silver. Defendants submit, and discuss below why under settled

law, the Democratic Party and its officers and employees are not state actors and therefore not

subject to Federal Court jurisdiction under 42 U.S.C. Section 1983. We further argue that even if

a Section 1983 case were appropriate, plaintiff has improperly failed to utilize state remedies

available to him which could have achieved timely relief (if he had stated a claim), and that

nothing in the facts demonstrates a meritorious claim under either the Manhattan Democratic

Party Rules or the NY State Election Law, much less the First or Fourteenth Amendments.
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                                  STATEMENT OF FACTS

       The Manhattan Democratic Party has at all relevant times been governed by Rules

(Exhibit A) adopted by its County Committee, a legislative body elected by voters registered

with the Democratic Party, every odd numbered year, i.e., every two years.

       The laws concerning election of a County Committee are set forth at Section 2-104 of the

NY State Election Law, as follows:

              1. The county committee of each party shall be constituted by the
              election in each election district within such county of at least two
              members and of such additional members, not in excess of two, as
              the rules of the county committee of the party within the county or
              the statement filed pursuant hereto may provide for such district,
              proportional to the party vote in the district for governor at the last
              preceding gubernatorial election, or in case the boundaries of such
              district have been changed or a new district has been created since
              the last preceding gubernatorial election, proportional to the party
              vote cast for member of assembly or in the event there was no
              election for member of assembly, then proportional to the number
              of enrolled voters of such party in such district on the list of
              enrolled voters last published by the board of elections, excluding
              voters in inactive status. In a county in which no additional
              members are provided for by the rules of the county committee or
              the statement filed pursuant hereto the voting power of each
              member shall be in proportion to such party vote or, if the election
              district which such member represents was created or changed
              since the last election for member of assembly, proportional to
              such party enrollment. In a county in which additional members
              are so provided for, on the basis of the party vote or enrollment in
              election districts within such county, each member shall have one
              vote. Each member of a county committee shall be an enrolled
              voter of the party residing in the county and the assembly district
              from which or in the assembly district containing the election
              district in which such member is elected except that a member of a
              county committee who, as a result of an alteration of assembly
              district lines, no longer resides within such assembly district may
              continue to serve for the balance of the term to which he was
              elected…

              3. Notwithstanding the provisions of subdivision one of this
              section, a county committee of a party shall be legally constituted
              if twenty-five per centum of the committeemen required to be



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                elected in such county, as provided in subdivision one of this
                section, have been elected.

        Section 2-106 of the Election Law provides that:

                1. Members of the state and county committees shall be elected at
                the primary election as herein provided.

                2. Members of the state committee shall be elected biennially…

                4. Members shall hold office until the next election at which
                members of the committee are elected.

        One of the roles of the County Committee is to select Democratic Party nominees for

State and Federal elections (other than Statewide positions) where a vacancy is created by the

death or resignation of an elected official, generally a Congress Member, a State Senator, or an

Assembly Member.

        Section 6-116 of the NY State Election Law states that:

                “A party nomination of a candidate for election to fill a vacancy in
                an elective office required to be filled at the next general election,
                occurring after seven days before the last day for circulating
                designating petitions or after the holding of the meeting or
                convention to nominate or designate candidates for such, shall be
                made, after the day of the primary election, by a majority vote of a
                quorum of the state committee if the vacancy occurs in an office to
                be filled by all voters of the state, and otherwise by a majority
                vote of a quorum of the members of a county committee or
                committees last elected in the political subdivision in which
                such vacancy is to be filled, or by a majority of such other
                committee as the rules of the party may provide. A certificate of
                nomination shall be filed as provided for herein.”

        A nomination by the Party to run for the vacancy in an Assembly seat is made by a vote

of the members of the County Committee in that Assembly District. The Rules of the Manhattan

Democratic Party provide for a procedure to fill vacancies in County Committee positions. Those

rules, at Article V, provide that:

                3. Nominations for Public Office. (a) Whenever a Party
                nomination for a public office to be filled at a general or special


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               election is not made at a primary election or by judicial
               nominating convention, or when no valid designating petition is
               filed with the board of elections (1) such nomination shall be made
               by the Executive Committee if for a public office to be filled by
               the voters of a political subdivision whose boundaries are
               coterminous with the County of New York or the Borough of
               Manhattan, and any vacancy in a nomination so made shall be
               filled by the Executive Committee or a subcommittee appointed by
               the Executive Committee for that purpose, and (2) such
               nomination shall be made by the appropriate District
               Committee if for a public office to be filled by the voters of a
               political subdivision wholly or partly contained within, but
               embracing only a part of, the County of New York or Borough
               of Manhattan, and any vacancy in a nomination so made shall be
               filled by a subcommittee appointed by said District Committee for
               that purpose.

       In Manhattan, unlike elsewhere in the State, Party Rules allow the division of Assembly

Districts into Parts, so an Assembly District may have two, three, or even four parts. Each Part

has a male and female District Leader, and each Part has its own Divisional County Committee.

Vacancies in County Committee slots are filled by vote either by vote of the full County

Committee at its bi-annual Organizational Meeting (based on nominations made by District

Leaders) or by vote of the Divisional County Committee. Nowhere is this described in State

Law; these committees and their composition, their meeting rules, notice for meetings, etc., are

all guided by the Party Rules.

       Once a County Committee votes to designate a candidate to run for a vacancy it submits

that nomination to the NYC Board of Elections. There then exists a procedure to object to such a

nomination. Section 6-164 of the NY Election Law provides:

               Written objections to any certificate of designation or nomination
               or to a nominating or designating petition or a petition for
               opportunity to ballot for public office or to a certificate of
               acceptance, a certificate of authorization, a certificate of
               declination or a certificate of substitution relating thereto may be
               filed by any voter registered to vote for such public office and to a
               designating petition or a petition for opportunity to ballot for party
               position or a certificate of substitution, a certificate of acceptance


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               or a certificate of declination relating thereto by any voter enrolled
               to vote for such party position. Such objections shall be filed with
               the officer or board with whom the original petition or certificate is
               filed within three days after the filing of the petition or
               certificate to which objection is made, or within three days
               after the last day to file such a certificate, if no such certificate
               is filed except that if any person nominated by an independent
               nominating petition, is nominated as a party candidate for the same
               office by a party certificate filed, or a party nomination made after
               the filing of such petition, the written objection to such petition
               may be filed within three days after the filing of such party
               certificate or the making of such party nomination. When such an
               objection is filed, specifications of the grounds of the objections
               shall be filed within six days thereafter with the same officer or
               board and if specifications are not timely filed, the objection shall
               be null and void. Each such officer or board is hereby empowered
               to make rules in reference to the filing and disposition of such
               petition, certificate, objections and specifications.

The period to file such objections is very short, because the Special Election to fill the vacancy

follows usually in 30 days. If that objection is not acted upon to the objector’s satisfaction, he or

she may go to Court pursuant to Section 16-102

       The Election Law contains a procedure to challenge a party’s nomination, set forth at

Section 16-102:

               1. The nomination or designation of any candidate for any public
               office or party position or any independent nomination, or the
               holding of an uncontested primary election, by reason of a petition
               for an opportunity to ballot having been filed, or the election of
               any person to any party position may be contested in a proceeding
               instituted in the supreme court by any aggrieved candidate, or by
               the chairman of any party committee or by a person who shall have
               filed objections, as provided in this chapter, except that the
               chairman of a party committee may not bring a proceeding with
               respect to a designation or the holding of an otherwise uncontested
               primary.

               2. A proceeding with respect to a petition shall be instituted within
               fourteen days after the last day to file the petition, or within three
               business days after the officer or board with whom or which such
               petition was filed, makes a determination of invalidity with respect
               to such petition, whichever is later; except that a proceeding with
               respect to a petition for a village election or an independent


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               nomination for a special election shall be instituted within seven
               days after the last day to file the petition for such village election
               or independent nomination or within three business days after the
               officer or board with whom or which such petition was filed,
               makes a determination of invalidity with respect to such petition,
               whichever is later. A proceeding with respect to a primary,
               convention, meeting of a party committee, or caucus shall be
               instituted within ten days after the holding of such primary or
               convention or the filing of the certificate of nominations made at
               such caucus or meeting of a party committee.

               3. The court may direct reassembling of any convention or the
               holding of a new primary election, or caucus where it finds there
               has been such fraud or irregularity as to render impossible a
               determination as to who rightfully was nominated or elected.

       A judicial proceeding is to be brought within 10 days of the Party committee meeting if

the results or conduct of that meeting are being challenged.

       On November 30, 2015 Assembly Member Sheldon Silver was convicted of several

felonies and was forced to immediately vacate his office, which was Assembly member for the

65th Assembly District (“AD”). On January 30, 2016 Governor Cuomo ordered a Special

Election to fill the vacated seat and ordered that that election occur on April 19, 2016.

       Under the Party Rules cited above, the County Committee for the 65th Assembly District

had the responsibility to nominate a Democratic Party nominee for the position. The names and

addresses of those who had been elected to the County Committee in September 2015 was public

record. Each had had to file petitions with the NYC Board of Elections in order to be placed on

the ballot, and, since the petitions are public record, that Board supplies that information upon

request. Thirty-nine County Committee positions were not filled during the Democratic Primary

in September 2015, and they were filled, upon nomination of various District Leaders (as

provided in the Party Rules), by vote of the full County Committee on September 29, 2015. This

was an open, public meeting.




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       Manhattan Democratic Party Leader Keith Wright called a meeting of the 65th AD

County Committee for February 7, 2016.

       At his request, Plaintiff Bal, who asserted that he was a candidate for the nomination, was

given a complete list of all the District County Committee members on December 31, 2015, six

weeks before the District County Committee meeting.

       Mr. Bal also was given a copy of the Party Rules. Those Rules provide, at Article V,

Section 8, that “Unless otherwise provided herein or in the rules of the appropriate committee,

the proceedings of the County Committee and all committees and subcommittees organized

hereunder shall be governed by the latest edition of Robert’s Rules of Order, Newly Revised.”

Robert’s Rules governed all procedural issues at the District meeting.

       There were at least four candidates, three of whom were District Leaders, two from the

same Part of the 65th AD, and the same Democratic Party Club, who had significant support

prior to the February 7 meeting. For Equal Protection purposes, one was a Chinese American

female, one was an Italian-American female, one was an Indian-American female, and one was a

white Jewish male. All had been elected to office in contested elections in 2015.

       Mr. Bal had no support. On February 1, 2016 he “dropped out” of the race, since he had

no County Committee member willing to nominate him.

       The list showing the “weighted vote,” the vote cast by each County Committee member,

which was determined by tabulating the number of votes received by Governor Cuomo on the

Democratic Party Line in the November 2014 election, was not finalized until several days

before the February 7, 2016 meeting. The 2014 vote, by Election District, however, was public

record, available online at the NYC Board of Elections website.




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       At the District County Committee meeting held on February 7, 2016, District Leader

Alice Cancel received the plurality of votes and was declared the Democratic Party nominee.

       Following that designation Mr. Bal did not file any Objection with the NYC Board of

Elections pursuant to Election Law 6-164

       At no time did Mr. Bal file a proceeding in State Supreme Court pursuant to Section

16-102 of the Election Law.

       Ms. Cancel went on to win the April 19, 2016 Special Election. She served, however,

only until the end of 2016. There was a Democratic Primary election for the position in

September 2016, won by another candidate, Yuh-Line Niou. Mr. Bal was not on the ballot,

having failed to submit the required number of signatures on a nominating petition. Ms. Niou

was elected to the Assembly in the November 2016 General Election.

       There was another Democratic Party primary for the position on September 13, 2018. Ms.

Niou was again chosen as the Democratic nominee.

       In 2017 the Manhattan Party went through its biennial reorganization. The Party did not

have a functioning Ethics Committee prior to that date, but it now does. That Committee will take

up Mr. Bal’s various complaints, one or more of which may state actual violations of Party Rules.

       There is no law which dictates what must be in a Party’s Rules regarding vacancy

elections, other than the Election Law provisions cited above.




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                                          ARGUMENT

                                             POINT I

                           THIS COURT LACKS JURISDICTION
                                 AS A MATTER OF LAW

       The plaintiff bears the burden of demonstrating that subject matter jurisdiction

exists. See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.1981).

       “To state a claim under 42 U.S.C. § 1983, a plaintiff must not only allege a deprivation of

a federal right, privilege or immunity, but must allege that the deprivation was attributable, at

least in part, to a person acting under color of state law.” Fulani v. McAullife, 2005 WL

2276881, at *3 (S.D.N.Y. 2005). In Fulani, the court refused to hold that the Democratic

National Committee was a state actor. The fundamental problem with Mr. Bal’s lawsuit is that

like in Fulani, there are no state actors involved and no action taken under color of state law that

would give a Federal Court jurisdiction. As the District Court recently ruled in De La Fuente v.

Iowa Democratic Party, 2016 WL 9224895 (SD Iowa Central Division 2016), a complaint

against a political party for not following its rules is nothing more than a “garden variety” breach

of contract claim under state law. A Section 1983 claim cannot be based on an alleged breach of

contract. Ferrell v. Norris, 441 F.App’x 399, 400 n.2 (8th Cir. 2011).

       The Democratic Party and its officials are not “state actors.” When a non-state actor is

sued under § 1983, an initial inquiry asks whether (1) the party engaged in the conduct

complained of under color of state law, and (2) whether the alleged conduct deprived a person of

rights, privileges or immunities guaranteed under the Constitution or laws of the United States.

Parratt v. Taylor, 451 U.S. 527, 535 (1981); and see Gomez v. Toledo, 446 U.S. 635, 640 (1980).

       In Bendell-Baker v. Kohn, 457 U.S. 830, 838 (1982), the Supreme Court held that state

action “cannot be found unless the alleged infringement of federal rights is fairly attributable to


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the state.” The method of how a party chooses a nominee to run in a state election involves no

state action. All New York State Election Law at § 6-114 states is: “Party nomination for an

office to be filled at a special election shall be made in the manner prescribed by the rules of the

party.” There is no requirement in the law that the party hold a vote, or a convention, or that the

procedure involve something other than throwing darts at a dartboard. In Democratic Party of

the United States v. Wisconsin, 450 U.S. 107, 125 n.31 (1981), a case involving selection of

Presidential electors, the Supreme Court stated:

                “Any connection between the process of selecting electors and the
                means by which political party members associate to elect
                delegates to party nominating conventions is so remote and
                tenuous as to be wholly without constitutional significance.”

        Given the lack of direction given by state law and the lack of governmental assistance,

there is no basis for a claim that any defendant here acted under color of state law. Jesse Jackson

v. Michigan State Democratic Party, 593 F.Supp. 1033 (ED Mich. S.D. 1984); and see Kurita v.

State Primary Board of the Tennessee Democratic Party, 472 F.App’x 398 (6th Cir. 2010),

affirming Kurita v. State Primary Board, etc., 2008 WL 4601574 *9 (MD Tenn. Nashville Div.

2008) (“The Court does not agree with Plaintiff’s proposition that the state legislature’s decision

to permit political parties to resolve their own nominating contests prior to the general election

constitutes state action”).

                                             POINT II

                        EVEN IF THIS COURT HAS JURISDICTION
                        PLAINTIFF HAS FAILED TO EXHAUST HIS
                        STATE REMEDIES REQUIRING DISMISSAL

        Although the federal courts have not, in cases like this, barred consideration of a case

which (a) largely involves issues of state law, and (b) could easily and in a timely manner have

been decided in a state court, the Supreme Court in McNeese v. Board of Ed. for Community Unit


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School Dist. 187, Cahokia, Ill., 373 U.S. 668, 673 (1963) held that “[w]here strands of local law

are woven into the case that is before the federal court, we have directed a District Court to

refrain temporarily from exercising its jurisdiction until a suit could be brought in the state court.

See Railroad Comm’n of Texas v. Pullman Co., 312 U.S. 496; Thompson v. Magnolia Petroleum

Co., 309 U.S. 478; Harrison v. N.A.A.C.P., 360 U.S. 167. Thus we have stayed the hands of a

Federal District Court when it sought to enjoin enforcement of a state administrative order

enforcing state law, since any federal question could be reviewed when the cases came here

through the hierarchy of state courts.” And see Burford v. Sun Oil Co., 319 U.S. 315, 318-319

(1943) (“Although a federal equity court does have jurisdiction of a particular proceeding, it

may, in its sound discretion, whether its jurisdiction is invoked on the ground of diversity of

citizenship or otherwise, ‘refuse to enforce or protect legal rights, the exercise of which may be

prejudicial to the public interest’; for it ‘is in the public interest that federal courts of equity

should exercise their discretionary power with proper regard for the rightful independence of

state governments in carrying out their domestic policy.”)

        The Second Circuit has also made similar observations where the state remedy is

adequate. In Eisen v. Eastman, 421 F.2d 560, 569 (2d Cir. 1969), the Court held:

                Exhaustion of state administrative remedies is not required where
                the administrative remedy is inadequate, as in McNeese, or where
                it is certainly or probably futile, as in Damico, Smith and
                Houghton. A quite different situation would be presented, for
                example, when a complaint alleged that a subordinate state officer
                had violated the plaintiff’s constitutional rights by acting because
                of bias or other inadmissible reasons, by distorting or ignoring the
                facts, or by failing to apply a constitutional state standard, and the
                state has provided for a speedy appeal to a higher administrative
                officer, as New York City has done here.

        In Pettengill v. Putnam County School District, Unionsville, Missouri, 472 F.2d 121 (8th

Cir. 1973), the Circuit Court refused to interject itself into an election controversy. The court



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found no constitutional grounds for intervention ‘in the absence of aggravating factors such as

denying the right of citizens to vote for reasons of race, or fraudulent interference with a free

election by stuffing of the ballot box, or any other unlawful conduct which interferes with the

individual’s right to vote.” And see Curry v. Baker, 802 F.2d 1302, 1314,1315-16 (11th Cir.

1986) (‘Unlike systematically discriminatory laws, isolated events that adversely affect

individuals are not presumed to be a [constitutional violation] … .” “Subject to Specific

exceptions, federal courts should not be involved in settling state election disputes. Sound

reasons grounded in both law and public policy establish that far better forums for disputes

involving elections to state offices are found in the party machinery and the court system of the

affected state.”); Hennings v. Grafton, 523 F.2d 861 (7th Cir. 1975); Powell v. Power, 436 F.2d

84 (2d Cir. 1970).

       Plaintiff here has utterly avoided what is set forth in the NY Election Law as an adequate

and timely remedy. He asserts that he wrote to the State Board of Elections (rather than file in

NYC, as required by law), and was told by the State Board’s Director of Enforcement that there

were no statutory violations present in the County Committee’s selection of Ms. Cancel. He then

did not proceed in State Court, even though an expedited procedure was available which could

have actually resulted in a reconvening of the County Committee. This Court should be loath to

get involved in a lawsuit which involves intricate questions of Party Rules and their interplay

with State Election Law, and should not invite aggrieved candidates to utilize the Federal Courts

by framing what are really alleged Election Law violations as Constitutional claims.




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                                             POINT III

                    EVEN IF THIS COURT HAS JURISDICTION TO
                  PROCEED ON THE MERITS THE FACTS WARRANT
                      JUDGMENT IN FAVOR OF DEFENDANTS

       The undisputed facts show that at best, Plaintiff had a complaint that Democratic Party

staff did not bend over backwards to accommodate his demands for information which was

available elsewhere. What Plaintiff seems to complain about is that District Leaders had an

advantage over a non-District Leader candidate, and he argues that “non-District Leader

candidates” is a protected class under the Fourteenth Amendment.

       The Plaintiff failed to state a violation of equal protection on the actions or non-actions of

the MDP or Cathleen McCaddon. This claim should fail because he is not part of a suspect class

nor was he denied a fundamental right, and thus his claim is insufficient to state a constitutional

violation. Mere willfulness, without the specific intent to deprive Plaintiff of a fundamental

right, is insufficient to establish an Equal Protection claim. Gelb v. Bd. of Elections of City of

New York, 224 F.3d 149 (2d Cir. 2000). It is thirty-year-old doctrine in this Circuit that a § 1983

action invoking the Equal Protection Clause is not available to remedy election process errors in

the absence of a showing of “intentional or purposeful discrimination.” Gelb v. Bd. of Elections

of City of New York, 224 F.3d 149 (2d Cir. 2000) (citing Powell v. Power, 436 F.2d 84, 88 (2d

Cir. 1970)).

       The rights of voters are among the most fundamental in our constitutional structure.

See Burdick v. Takushi, 504 U.S. 428, 433 (1992); Anderson v. Celebrezze, 460 U.S. 780, 788

(1983). However, candidacy is not a fundamental right in our political system, Clements v.

Fashing, 457 U.S. 957, 963 (1982), and “not all restrictions imposed by the States on candidates’

eligibility for the ballot impose constitutionally suspect burdens on voters’ rights to associate or




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to choose among candidates.” Id. “As a practical matter, there must be a substantial regulation

of elections if they are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.” Storer v. Brown, 415 U.S. 724, 730 (1974); Fulani v.

McAuliffe, 2005 WL 2276881, at *3 (S.D.N.Y. 2005).

       Even when viewed through Plaintiff’s description of events, he was denied no

fundamental right. He had the ability, for a five-week period prior to the County Committee

meeting to call or write the 150 or so County Committee members, to appear at meetings of the

various political clubs which voted to endorse candidates, to find someone who could have

nominate him as per Robert’s Rules of Order, and to make a speech from the floor. Having not

been handed the information he wanted on a silver platter, he dropped out.

       There is no merit to his Equal Protection claim, and no demonstration whatsoever of how

his First Amendment right to speak or to run was undermined by a system designed to wind up

with one winner and many losers.

                                          CONCLUSION

       For the reasons aforedescribed the Court should deny Plaintiff’s Motion for Summary

Judgment and grant Defendants’ Motion for Summary Judgment.

Dated: October 9, 2018


                                                       ADVOCATES FOR JUSTICE
                                                       CHARTERED ATTORNEYS
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